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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-00694-PAB-NYW

  MOSTAFA KAMEL MOSTAFA,

          Plaintiff,

  v.

  WILLIAM BARR, U.S. Attorney General,
  CHRISTOPHER WRAY, FBI Director,
  KATHLEEN H. SAWYER, BOP Director,
  B. TRUE, ADX Florence Warden,
  MS. TUTTOILMUNDO, H Unit Manager, and
  JOHN AND JANE DOES, ET AL,

          Defendants.


                                DEFENDANTS’ STATUS REPORT


          As noted in the response in opposition to Mostafa’s motion for reconsideration, see ECF

  No. 52 at 5-6 & n.2., Defendants, in their official capacities, provide notice that Mostafa met by

  VTC with the BOP’s top hand specialist and a prosthetics and orthotics specialist on December 16,

  2020.

  Respectfully submitted on December 20, 2020.

                                                 JASON R. DUNN
                                                 United States Attorney

                                                 s/ Susan Prose
                                                 Susan Prose
                                                 Assistant United States Attorney
                                                 1801 California Street, Suite 1600
                                                 Denver, Colorado 80202
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                             CERTIFICATE OF SERVICE (CM/ECF)

         I hereby certify that on December 20, 2020, I electronically filed the foregoing with the
  Clerk of Court using the CM/ECF system, which will send notification of such filing to the
  following e-mail addresses:

         None.

  and I hereby certify that I have directed personnel in the U.S. Attorney’s office to mail the
  foregoing to the following non-CM/ECF participant by U.S. Mail:

         Mostafa Kamel Mostafa
         Reg. No. 67495-054
         Florence Admax
         U.S. Penitentiary
         Inmate Mail/Parcels
         Po Box 8500
         Florence, CO 81226


                                                         s/ Susan Prose
                                                         U.S. Attorney’s Office




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